                          UNITED STATES BANKRUPTCY COURT
                   NORTHERN DISTRICT OF ALABAMA, NORTHERN DIVISION


 In re:                                      )              Case No. 18-82270-CRJ11
 Michael Wayne Davidson                      )
 SSN: xxx-xx-3867                            )              Chapter 11
                                             )
       Debtor.                               )


                           MOTION FOR RELIEF FROM AUTOMATIC STAY



 COME NOW, the Estate of Julio Biora, Alejandro Rezzonico, Marina Rezzonico and Mariano
 Rezzonico (herein “the Biora Creditors”) and motion for relief from the automatic stay as
 follows:

     1. The Biora creditors are judgment creditors of the Debtor pursuant to the judgment orders
        of the Circuit Court of Madison County, Alabama.

     2. Following a petition and briefing on the same, the Circuit Court taxed costs against the
        Debtor and Dean Hudson (“Hudson”), who was a codefendant in the Circuit Court action.
        A true and correct copy of the Circuit Court’s order is attached hereto as Exhibit A.

     3. On July 26, 2018, Debtor and Hudson moved the Circuit Court to vacate the taxation of
        costs. A hearing for the same was set for August 1, 2018.

     4. On July 31, 2018, Debtor filed a petition for bankruptcy and consequently the Circuit
        Court hearing was continued.

     5. The Biora Creditors seek relief from the Automatic Stay to allow them to proceed against
        Dean Hudson, to the extent permitted by the Circuit Court.

     6. In collecting any award, the Biora Creditors will not proceed against any property of the
        Debtor’s estate without permission from this Court.


 Respectfully submitted this 20th day of November, 2018.




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                                            _______________________
                                            Gregory H. Revera

                                            Revera Law Firm, LLC
                                            120 Holmes Ave. Ste. 303
                                            Huntsville, AL 35801


 Of Counsel:
 Kevin Gray
 Andrew Shaver
 Bradley Arant Boult Cummings, LP
 200 Clinton Ave. West
 Suite 900
 Huntsville, AL 35801




                                CERTIFICATE OF SERVICE
         I hereby certify that I have served a copy of the foregoing motion upon the debtor and
 parties of interest electronically, or by placing a copy of the same in the United States mail,
 properly addressed and postage prepaid, on this the 20th day of November, 2018.

 the Attorney for the Debtor:                      the Debtor:
 Kevin D. Heard                                    Michael Wayne Davidson
 Heard, Ary & Dauro, LLC                           2808 Old Railroad Bed Road
 303 Williams Avenue SW                            Harvest, AL 35749
 Park Plaza Suite 921
 Huntsville, AL 35801




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                                            Gregory H. Revera


  




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